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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                   No. 21-CR-354 (APM)
                                          )
THOMAS B. ADAMS, JR.,                     )
                                          )
            Defendant                     )
__________________________________________)

             MOTION TO MODIFY CONDITIONS OF HOME DETENTION

       Defendant Thomas Adams, through undersigned counsel, respectfully submits this Motion

to Modify Conditions of Home Detention in the above captioned matter. Mr. Adams is currently

on home detention for 30 days and only permitted to leave his residence for “employment;

education; religious services; medical, substance abuse, or mental health treatment; attorney visits;

court appearances; court-ordered obligations; or other activities approved in advance by the

pretrial services office or supervising officer.” 2/16/23 Minute Entry. At the hearing on February

16, 2023, the Court also indicated that pretrial services should allow Mr. Adams to leave his

residence to exercise his dog and left the details of such arrangements to pretrial services.

       Pretrial services has determined that Mr. Adams may only go outside with his dog for one

hour each day in the afternoon and at all other times Mr. Adams must remain in the home and let

the dog into his fenced rear yard. Mr. Adams requests a limited adjustment to this condition and

asks the Court to permit him to be in his fenced yard for an additional hour in the morning. Mr.

Adams has a large and energetic dog, which needs more exercise than one hour a day. Additionally,

the time outside in the fresh air and, hopefully, sunshine, is also beneficial to Mr. Adams’s physical

and mental health. Mr. Adams seeks a limited modification of the conditions of home confinement,

the result being that Mr. Adams would be permitted outside with his dog for two hours a day, one
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in the morning and one in the afternoon, rather than just one. The government does not oppose this

request.

                                                    Respectfully submitted,

                                                    A. J. KRAMER
                                                    FEDERAL PUBLIC DEFENDER

                                                           /s/
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